                         Case 2:20-cv-00564-JAM-JDP Document 45 Filed 05/17/21 Page 1 of 4


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                    6 Attorneys for Defendants, ANDERSON FIRE
                      PROTECTION DISTRICT and FIRE CHIEF
                    7 STEVE LOWE

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                   10                                     UNITED STATES DISTRICT COURT
                   11                      EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
                   12

                   13 JAMES I. MCMILLAN,                                   Case No. 2:20-cv-00564-JAM-JDP

                   14                       Plaintiff,                     DEFENDANTS ANDERSON FIRE
                                                                           PROTECTION DISTRICT AND FIRE
                   15             vs.                                      CHIEF STEVE LOWE’S NOTICE OF
                                                                           MOTION AND MOTION TO DISMISS
                   16 COUNTY OF SHASTA, a public entity;                   PLAINTIFF’S THIRD AMENDED
                      CITY OF ANDERSON, a public entity;                   COMPLAINT PURSUANT TO FEDERAL
                   17 ANDERSON FIRE PROTECTION                             RULE OF CIVIL PROCEDURE 12(b)(6)
                      DISTRICT, a public entity; FIRE CHIEF
                   18 STEVE LOWE in his official and individual            Date:   July 6, 2021
                      capacity; ANDERSON POLICE OFFICER                    Time:   1:30 p.m.
                   19 KAMERON LEE in his official and individual           Crtrm.: 6
                      capacity; SHASTA COUNTY SHERRIFF-
                   20 CORONER THOMAS M. BOSENKO RET.,                      Judge:   Hon. John A. Mendez, Crtrm. 6
                      in his individual and official capacities;
                   21 COUNTY JAIL CAPTAIN DAVE KENT, in                    Trial Date:            None Set
                      his individual and official capacity;
                   22 CALIFORNIA FORENSIC MEDICAL
                      GROUP, INC., A California Corporation;
                   23 JAIL NURSE DOES 1; JAIL NURSE DOE 2,
                      AND DOES 3-20, individually, jointly, and
                   24 severally,

                   25                       Defendants.

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LEWIS                   4834-8773-3226.1                               1
BRISBOIS                 DEFENDANTS ANDERSON FIRE PROTECTION DISTRICT AND FIRE CHIEF STEVE LOWE’S NOTICE OF
BISGAARD
& SMITH LLP                MOTION AND MOTION TO DISMISS PLAINTIFF’S THIRD AMENDED COMPLAINT PURSUANT TO
ATTORNEYS AT LAW                              FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
                         Case 2:20-cv-00564-JAM-JDP Document 45 Filed 05/17/21 Page 2 of 4


                    1            TO THE HONORABLE JOHN A. MENDEZ, JUDGE, AND TO ALL PARTIES

                    2 AND ATTORNEYS OF RECORD:

                    3            PLEASE TAKE NOTICE that defendants, FIRE CHIEF STEVE LOWE and

                    4 ANDERSON FIRE PROTECTION DISTRICT on July 6, 2021 at 1:30 p.m. in Courtroom 6 of the

                    5 United States District Court, Eastern District of California, 501 I Street, Sacramento, California

                    6 95814 will and hereby do move this court for an order dismissing all claims against them without

                    7 leave to amend for failure to state a claim upon which relief may be granted pursuant to Federal

                    8 Rule of Civil Procedure 12(b)(6). This Motion is made following the conference of counsel

                    9 pursuant to the Court’s standing order. Counsel met and conferred via written correspondence on
                   10 May 17, 2021. This Motion will be based on this Notice, on the attached Memorandum of Points

                   11 and Authorities in support of the motion, and/or any Judicial Notice requested herein, and such

                   12 other and further evidence that may be introduced at the Hearing of this Motion.

                   13 DATED: May 17, 2021                         LEWIS BRISBOIS BISGAARD & SMITH LLP

                   14

                   15
                                                                  By:          /s/ Ryan J. Matthews
                   16                                                   JOSEPH A. SALAZAR JR.
                                                                        RYAN J. MATTHEWS
                   17                                                   Attorneys for Defendants, ANDERSON FIRE
                                                                        PROTECTION DISTRICT and FIRE CHIEF
                   18
                                                                        STEVE LOWE
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                         Case 2:20-cv-00564-JAM-JDP Document 45 Filed 05/17/21 Page 3 of 4


                    1                             FEDERAL COURT PROOF OF SERVICE
                                                   James I. McMillan v. County of Shasta, et al.
                    2                                  Case No. 2:20-cv-00564-JAM-JDP

                    3 STATE OF CALIFORNIA, COUNTY OF SACRAMENTO

                    4        At the time of service, I was over 18 years of age and not a party to the action. My
                      business address is 2020 West El Camino Avenue, Suite 700, Sacramento, CA 95833. I am
                    5 employed in the office of a member of the bar of this Court at whose direction the service was
                      made.
                    6
                             On May 17, 2021, I served the following document(s):
                    7
                             - DEFENDANTS ANDERSON FIRE PROTECTION DISTRICT AND FIRE
                    8            CHIEF STEVE LOWE’S NOTICE OF MOTION AND MOTION TO DISMISS
                                 PLAINTIFF’S THIRD AMENDED COMPLAINT PURSUANT TO FEDERAL
                    9            RULE OF CIVIL PROCEDURE 12(b)(6)
                   10         I served the documents on the following persons at the following addresses (including fax
                        numbers and e-mail addresses, if applicable):
                   11
                                                       SEE ATTACHED SERVICE LIST
                   12
                                 The documents were served by the following means:
                   13
                                (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                   14            documents with the Clerk of the Court using the CM/ECF system, which sent notification
                                 of that filing to the persons listed above.
                   15
                              I declare under penalty of perjury under the laws of the United States of America and the
                   16 State of California that the foregoing is true and correct.

                   17            Executed on May 17, 2021, at Sacramento, California.
                   18

                   19                                                           /s/ Alicia Crespo
                                                                         Alicia Crespo
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                         Case 2:20-cv-00564-JAM-JDP Document 45 Filed 05/17/21 Page 4 of 4


                    1                                        SERVICE LIST
                                                 James I. McMillan v. County of Shasta, et al.
                    2                                Case No. 2:20-cv-00564-JAM-JDP

                    3    James I. McMillan                                In Propria Persona
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                    4    San Diego, CA 92122                              Tel.: 858-646-0069
                                                                          Direct: 858-412-0058
                    5                                                     Fax: 206-600-4582
                                                                          Email: jimcmillan@netscape.net
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                         Jerome M. Varanini                               Attorneys for Defendant,
                    7    The Law Offices of Jerome M. Varanini            CALIFORNIA FORENSIC MEDICAL
                         641 Fulton Avenue, Suite 200                     GROUP, INC.
                    8    Sacramento, CA 95825
                         P.O. Box 590                                     Tel.: 916-993-4868
                    9    Sacramento, CA 95812-0590                        Fax: 916-993-6750
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                         Gary Charles Brickwood                           Attorneys for Defendant
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                   13                                                     Fax: 530-245-1879
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                         Derick E. Konz                                   Attorneys for Defendant
                   15    Gokalp Yusuf Gurer                               CITY OF ANDERSON, KAMERON LEE
                         Angelo Kilday & Kilduff, LLP
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                         Sacramento, CA 95825                             Fax: 916-564-6263
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                                                                          E: ggurer@akk-law.com
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